           Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 1 of 8



                           THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

 IN RE: HOMELAND SECURITY
                                                    Case No. ____________________
 INVESTIGATIONS SUMMONS NO.
 ICE-HSI-MF-2018-00168
                                                    Filed Under Seal – Level I


              APPLICATION FOR ORDER COMMANDING GOOGLE, INC.
           NOT TO NOTIFY ANY PERSON OF THE EXISTENCE OF SUMMONS

       The United States requests that the Court order Google, Inc. not to notify any person

(including the subscribers or customers of the accounts listed in the summons) of the existence of

the attached summons and related preservation letter for approximately 180 days.

       Google, Inc. is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Pursuant to 18 U.S.C. § 2703, the United States obtained the attached summons, which requires

Google, Inc. to disclose certain records and information to the United States. This Court has

authority under 18 U.S.C. § 2705(b) to issue “an order commanding a provider of electronic

communication service or remote computing service to whom a warrant, summons, or court

order is directed, for such period as the court deems appropriate, not to notify any other person of

the existence of the warrant, summons, or court order.” Id.

       The attached summons was issued in connection with an investigation into targets of an

ongoing investigation relating to possession, receipt, and distribution of child pornography. The

premature disclosure of the existence of the summons will alert the account subscribers to the

pending investigation, which may cause them to destroy or alter evidence, or flee the United

States to avoid prosecution. In this case, such an order would be appropriate because the attached

summons relates to an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation, and its disclosure may alert the targets to the ongoing
             Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 2 of 8



investigation. Accordingly, there is reason to believe that notification of the existence of the

attached summons will seriously jeopardize the investigation or unduly delay a trial, including by

giving targets an opportunity to flee or continue flight from prosecution, destroy or tamper with

evidence, change patterns of behavior, intimidate potential witnesses, or endanger the life or

physical safety of an individual. See 18 U.S.C. § 2705(b). Some of the evidence in this

investigation is stored electronically. If alerted to the existence of the summons, the subjects

under investigation could destroy that evidence, including information saved to their personal

computers.

       Section 2705(b) provides that when the government is not required to notify the

subscriber or customer that it is serving process on the provider, then the Court may order the

provider not to give notice, provided one of the five risks set forth in § 2705(b) is present. For

the reasons listed above, the government has shown that there is reason to believe that notice by

the provider would cause one of the enumerated harms. The government is proceeding here

using a summons under 18 U.S.C. § 2703(c)(2). Section 2703(c)(3) provides that when the

government proceeds under § 2703(c) (i.e., when it is only seeking records of the provider, and

not any content of the subscriber or customer), the government is not required to provide notice

to the subscriber or customer. Thus, the government has satisfied all the conditions of § 2705(b).




                                                  2
             Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 3 of 8



          WHEREFORE, the United States respectfully requests that the Court grant the attached

Order directing Google, Inc. not to disclose the existence or content of the attached summons for

approximately 180 days, until on or about September 11, 2018, except that Google, Inc. may

disclose the attached summons to an attorney for Google, Inc. for the purpose of receiving legal

advice.

          Executed on March 15, 2018.



                                             /s/ Georgiana L. Konesky
                                             Georgiana L. Konesky
                                             Assistant U.S. Attorney
                                             State Bar # 685375
                                             53 Pleasant Street, 4th Floor
                                             Concord, NH 03301




                                                 3
Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 4 of 8
Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 5 of 8
Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 6 of 8
Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 7 of 8
           Case 1:18-mc-00021-AJ Document 1 Filed 03/15/18 Page 8 of 8



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

 IN RE: HOMELAND SECURITY
                                                  Case No. ____________________
 INVESTIGATIONS SUMMONS NO.
 ICE-HSI-MF-2018-00168
                                                  Filed Under Seal – Level I


                                              ORDER

       The United States has submitted an application pursuant to 18 U.S.C. § 2705(b),

requesting that the Court issue an Order commanding Google, Inc., an electronic communication

service provider and/or a remote computing service, not to notify any person (including the

subscribers or customers of the accounts listed in the summons) of the existence of the attached

summons and preservation letter for approximately 180 days.

       The Court determines that there is reason to believe that notification of the existence of

the attached summons will seriously jeopardize the investigation, including by giving targets an

opportunity to flee or continue flight from prosecution, destroy or tamper with evidence, and

change patterns of behavior. See 18 U.S.C. § 2705(b).

       IT IS THEREFORE ORDERED under 18 U.S.C. § 2705(b) that Google, Inc. shall not

disclose the existence of the attached summons, or this Order of the Court, to the listed

subscriber or to any other person before September 11, 2018, unless otherwise ordered by the

Court, except that Google, Inc. may disclose the attached summons to an attorney for Google,

Inc. for the purpose of receiving legal advice.




__________________                                   ____________________________
Date                                                 United States Magistrate Judge
